
Swing, J.
We think that a decree should be entered in this case as prayed for in the petition, for the reason that in our judgment the city council has not established a grade for the south side of Atkinson street as required by law. We do not believe that any grade has been established for the south curb, when council say, “And that the grade of the south curb shall be as nearly the same as practicable,” if the grade is left to be determined by engineers. It has not- been done by council. If nothing is left to the judgment of engineers, then the grade should be the same as the north curb line; and, in either event, the plaintiff is entitled to an injunction, because the line as made is one made by the engineers, which, according to their judgment, is the best one that can be made, and is not “as near as practicable” to the north line — in other words, they construe the word “ practicable ” not. as near like the north curb as can be made, but as near the north curb line as would be best suited for a good street. This, in effect, leaves the matter to the engineers, and they really establish the grade, instead of council. In our judgment, as said before, no grade, such as is required by law, has been established for the south curb line.
Decree for plaintiff.
